                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                                3:11cr65

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
MARRISEA HAWKINS,                                )
                                                 )
                 Defendant.                      )
_______________________________                  )

        THIS MATTER is before the court on defendant’s unopposed Motion to Amend

Final Judgment (#63). Having considered defendant’s motion and reviewed the pleadings,

the court enters the following Order as it appears that defendant’s recommended designation

should reflect her hometown of Cambridge, Maryland, rather than the location recommended

in the Judgment (#61), which was entered in error.



                                        ORDER

        IT IS, THEREFORE, ORDERED that defendant’s unopposed Motion to Amend

Final Judgment (#63) is GRANTED, and the Clerk of Court shall prepare and submit to

chambers an Amended Judgment reflecting that defendant’s recommended designation be

close to Cambridge, Maryland.




                                             Signed: August 7, 2012




      Case 3:11-cr-00065-MOC-DCK       Document 64       Filed 08/08/12    Page 1 of 1
